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5
6    Attorney for Defendant
     THERESA ANN CARR
7
8                         IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )       No. CR-S-09-00170-GEB
                                     )
12                  Plaintiff,       )
                                     )       STIPULATION AND [PROPOSED] ORDER
13        v.                         )       TO CONTINUE STATUS CONFERENCE
                                     )
14   ROBERT L. CARR, and THERESA ANN )
     CARR,                           )       Date: October 23, 2009
15                                   )       Time: 9:00 a.m.
                    Defendant.       )       Judge: Hon. Garland E. Burrell
16                                   )
     _______________________________
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            IT IS HEREBY STIPULATED between the parties, Samuel Wong,
18
     Assistant United States Attorney, for plaintiff United States of
19
     America, on the one hand, and Douglas Beevers, Assistant Federal
20
     Defender, attorney for defendant Theresa Ann Carr, and C. Emmett Mahle,
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     Esq., attorney for defendant Robert Carr, on the other hand, that the
22
     status conference of September 18, 2009 at 9:00 a.m., be vacated, and
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     the matter be set for status conference on October 23, 2009 at 9:00
24
     a.m.
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            The reason for the continuance is that both defense counsel have
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     only recently taken over this case in which discovery includes many
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     boxes of evidence, and counsel requires time to review the evidence.
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1    In addition, the Government expects to have a summary of additional
2    expert evidence ready for disclosure before October 23, 2009. The
3    parties agree a continuance is necessary for these purposes, and agree
4    to exclude time under the Speedy Trial Act accordingly.
5           IT IS STIPULATED that the period from the date of the parties'
6    stipulation, September 15, 2009, and up to and including October 23,
7    2009, shall be excluded in computing the time within which trial of
8    this matter must be commenced under the Speedy Trial Act, pursuant to
9    18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, for ongoing
10   preparation of defense counsel.
11   Dated: September 15, 2009
12                                             Respectfully submitted,
13                                             DANIEL BRODERICK
                                               Federal Defender
14
15                                             /s/ Douglas Beevers
                                               ________________________
16                                             DOUGLAS BEEVERS
                                               Assistant Federal Defender
17                                             Attorney for Defendant
                                               THERESA ANN CARR
18
19   Dated: September 15, 2009
20                                             /s/ C. Emmett Mahle
                                               ___________________________
21                                       By:   C. EMMETT MAHLE
                                               Attorney for defendant
22                                             Robert Carr
23   Dated: September 15, 2009
24                                             LAWRENCE BROWN
                                               Acting United States Attorney
25
26                                             /s/ Samuel Wong
                                               ___________________________
27                                       By:   SAMUEL WONG
                                               Assistant U.S. Attorney
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     Stip and Order                            -2-
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1                                            ORDER
2               UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
3    ordered that the status conference presently set for September 18,
4    2009, be continued to October 23, 2009, at 9:00 a.m.            Based on the
5    representation of defense counsel and good cause appearing therefrom,
6    the Court hereby finds that the failure to grant a continuance in this
7    case would deny defendants' counsel reasonable time necessary for
8    effective preparation, taking into account the exercise of due
9    diligence.       The Court finds that the ends of justice to be served by
10   granting a continuance outweigh the best interests of the public and
11   the defendant in a speedy trial.         It is ordered that time from the date
12   of the parties' stipulation, September 15, 2009, up to and including,
13   the October 23, 2009, status conference shall be excluded from
14   computation of time within which the trial of this matter must be
15   commenced under the Speedy Trial Act pursuant to 18 U.S.C. §
16   3161(h)(7)(B)(iv) and Local Code T-4, to allow defense counsel
17   reasonable time to prepare.
18   Dated:      September 16, 2009
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20                                       GARLAND E. BURRELL, JR.
21                                       United States District Judge

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     Stip and Order                           -3-
